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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

UNITED STATES OF AMERICA

V.

REALITY LEIGH WINNER

CR 117-034

V\/\/VV

FOURTH AMENDED SCHEDULING ORDER

For good cause shown, the case deadlines are amended as follows:

 

 

 

November 22, 2017 Defense revised discovery requests
November 27, 2017 Defense deadline for filing all pretrial motions
and any notice pursuant to § 5 of CIPA
Joint status report regarding discovery disputes
November 30, 2017 I-Iearing on discovery disputes

 

December 18, 2017

Deadline for government response to defense
pretrial motions

 

January 2, 2018

Deadline for government filing of CIPA § 6(a)
motion

Deadline for defense reply in support of pretrial
motions

 

January 22, 2018

Deadline for defense response to CIPA § 6(a)
motion

 

February 5, 2018

Deadline for government reply in support of
CIPA § 6(a) motion

 

February 20, 2018

CIPA § 6(a) Hearing

 

 

March 19, 2018

 

Trial

 

SO ORDERED this 9th day of November, 2017, at Augusta, Georgia.

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